          Case 2:17-cr-00021-JCM-EJY           Document 158         Filed 04/20/17      Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                         DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                              )
11                                                          )      Case No. 2:17-cr-00021-JCM-GWF
                            Plaintiff,                      )
12                                                          )      ORDER GRANTING MOTION TO
     v.                                                     )      APPEAR TELEPHONICALLY
13                                                          )
     MARIBEL PAGAN,                                         )      (Docket No. 157)
14                                                          )
                            Defendant.                      )
15                                                          )
16           Pending before the Court is Defendant Maribel Pagan’s counsel’s motion to appear
17   telephonically at the arraignment and plea on April 20, 2017, at 3:00 p.m. Docket No. 157. Counsel,
18   who failed to request a telephonic appearance until the day of the hearing, submits a vague assertion that
19   he “just arrived from Europe and therefore could not be present ... today.” Id.
20           Nonetheless, the Court GRANTS counsel’s motion to appear telephonically at the hearing.
21   Docket No. 30. Counsel shall call the Court conference line at 877-402-9757 at least five minutes prior
22   to the hearing. The conference code is 6791056. In order to ensure a clear recording of the hearing, the
23   call must be made using a land line phone. Cell phone calls, as well as the use of a speaker phone, are
24   prohibited.
25           IT IS SO ORDERED.
26           DATED: April 20, 2017.
27                                                  ______________________________________
                                                    NANCY J. KOPPE
28                                                  United States Magistrate Judge
